                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )   No. 3:11-00012-11
v.                                              )   Judge Sharp
                                                )
LAMONT COTTON                                   )
                                                )


                                           ORDER

       Pending before the Court is Defendant’s Motion to Continue the Sentencing Date

(Docket No. 1880).

       The motion is GRANTED and the sentencing hearing scheduled for November 1, 2013,

is hereby rescheduled for Friday, January 10, 2014, at 2:30 p.m.

       IT IS SO ORDERED.

                                                    ________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




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